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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

Civil Action No. 21-cv-01776-MEH

U.S. SECURITIES AND EXCHANGE COMMISSION,

       Plaintiff,

v.

SKIHAWK CAPITAL PARTNERS, LLC,
CONVERGENCE GROUP, LLC,
CLEMENT M. BORKOWSKI,
SEAN A. HAWKINS, and
JOSEPH P. SCHIFF,

      Defendants.
______________________________________________________________________________

                                  MINUTE ORDER
______________________________________________________________________________
Entered by Michael E. Hegarty, United States Magistrate Judge, on June 27, 2022.

        Before the Court is the parties’ Joint Motion for Protective Order. ECF 41. The proposed
protective order states at ¶ 13 that “[t]he Clerk of the Court may return to counsel for the parties,
or destroy, any sealed material at the end of the litigation, including any appeal.” The Court is
unaware of any procedure that permits the Clerk of Court to remove from the case file record any
filing (even one filed under seal) received for docketing. Therefore, the parties shall delete this
sentence from their proposed order.

        Therefore, the Motion [filed June 24, 2022; ECF 41] is denied without prejudice. The
parties may re-file the motion and propose a revised protective order that complies with the Court’s
requirements.

       Lastly, should the motion be refiled, the Court asks to receive a copy of the revised
proposed protective order in editable Word format at the email address:
hegarty_chambers@cod.uscourts.gov.
